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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
In Re Flint Water Cases No.5:16-cv-10444-JEL-MKM (consolidated)

HON. JUDITH E. LEVY

NOTICE OF THE MASTER GUARDIAN AD LITEM REGARDING REQUEST FOR
PAYMENT OF FEES FOR FEBRUARY 8, 2023 TO APRIL 4, 2023

On March 19, 2021, the Court entered the Order Granting Plaintiffs’ and Settling
Defendants’ Motion to Appoint Master Guardian Ad Litem. (ECF No. 1472) Miriam Z. Wolock
was appointed Master Guardian Ad Litem (“Master GAL”) under the Amended Settlement
Agreement.’ On March 12, 2021, the Genesee County Circuit Court entered a parallel Order
Granting Plaintiffs’ and Settling Defendants’ Motion to Appoint Master Guardian Ad Litem.

The foregoing Orders provide in relevant part that “Compensation to Miriam Wolock the
Master GAL... will be as provided for in the Amended Settlement Agreement, or as ordered by
this Court.” Article XI of the Amended Settlement Agreement establishes that guardian ad litem
fees and expenses shall be solely paid out of the FWC Qualified Settlement Fund.

As Master GAL, from February 8, 2023 to April 4, 2023 I performed work that included
advising claimants of deficiencies and cures for same, drafting memoranda for the Special Master
in regard to same, communicating with the Genesee County Probate Court Administrator in regard
to processes for personal representative and Next Friend appointments, meetings with Trust

Counsel, Huntington Bank, Elder Law of Michigan, Special Master, Judge Levy, Judge Mack,

 

I All capitalized terms herein have the same meaning set forth in the Amended Settlement Agreement that

the Court has preliminarily approved.
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Judge Newblatt, and the Genesee County Probate Court Administrator, analyzing claim
deficiencies and preparing reports for the Special Master.

The Settling Parties have been provided with the Master GAL’s Invoice covering the period
from February 8, 2023 to April 4, 2023 and have not submitted any objections. The total amount
owed on this Invoice is $49,105.04.

These fees, if approved, would be paid from the Qualified Settlement Fund, which has been
established under the terms of the Court’s February 2, 2021 Order Granting Motion to Establish
Qualified Settlement Fund and Sub-Qualified Settlement Funds, and Establishing QSF Authorized
Banking Institution [1408], ECF No. 1410.

By this Notice I am requesting that the Court authorize the payment of the sum of
$49,105.04 to the Law Offices of Miriam Z. Wolock, PLLC. I have submitted a proposed Order

for the Court’s consideration.

Dated: May 16, 2023 Respectfully Submitted,

/s/ Miriam Z. Wolock

Miriam Z. Wolock (P49434)

Master Guardian Ad Litem

LAW OFFICES OF MIRIAM Z. WOLOCK, PLLC
40900 Woodward Avenue, Suite 111

Bloomfield Hills, MI 48304

(248) 633-2630

mwolock@wolocklaw.com
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CERTIFICATE OF SERVICE
I certify that on May 16, 2023 I electronically filed the foregoing document with the Clerk
of Court using the Court’s ECF system, which will send notification of such filing to attorneys of

record.

Dated: May 16, 2023 Respectfully submitted,

/s/ Miriam Z. Wolock

Miriam Z. Wolock (P49434)

Master Guardian Ad Litem

LAW OFFICES OF MIRIAM Z. WOLOCK, PLLC
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EXHIBIT
A
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
In Re Flint Water Cases No.5:16-cv-10444-JEL-MKM (consolidated)

HON. JUDITH E. LEVY

ORDER AUTHORIZING DISTRIBUTION OF FUNDS FROM THE QUALIFIED
SETTLEMENT FUND FOR PAYMENT OF MASTER GUARDIAN AD LITEM FEES

FOR FEBRUARY 8, 2023 TO APRIL 4, 2023
Having now considered the Notice of The Master Guardian Ad Litem Regarding Request For
Payment Of Fees For February 8, 2023 to April 4, 2023, ECF No. _ (“Notice”) and the request
to authorize the distribution of funds from the Qualified Settlement Fund! under Article XI of the
Amended Settlement Agreement pursuant to Exhibit A of the Notice:
IT IS HEREBY ORDERED THAT:
1. A distribution of funds in the amount of $49,105.04 from the Qualified Settlement Fund
for the purpose of paying Master GAL Miriam Z. Wolock for February 8, 2023 to April 4,

2023 is approved.

IT IS SO ORDERED.

Dated: , 2023
Ann Arbor, Michigan JUDITH E. LEVY
United States District Judge

 

 

! All capitalized terms herein have the same meaning set forth in the Amended Settlement Agreement that

the Court has preliminarily approved.
